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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO

  Civil Action No.:

  BRENDA HUDLICKY,

                 Plaintiff,

  v.

  COMMERCIAL RECOVERY SYSTEMS, INC., a Texas corporation,

                Defendant.


                                 COMPLAINT AND JURY DEMAND


                                           JURISDICTION

  1.     Jurisdiction of this Court arises under 28 U.S.C. § 1331 and 15 U.S.C. § 1692k(d).

  2.     This action arises out of the Defendant’s violation of the Fair Debt Collection

         Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter the “FDCPA”).

                                               VENUE

  3.     Venue is proper in this Judicial District.

  4.     The acts and transactions alleged herein occurred in this Judicial District.

  5.     The Plaintiff resides in this Judicial District.

  6.     The Defendant transacts business in this Judicial District.

                                              PARTIES

  7.     Plaintiff Brenda Hudlicky is a natural person.

  8.     The Plaintiff resides in the City of Denver, County of Denver, State of Colorado.
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  9.    The Plaintiff is a “consumer” as that term is defined by 15 U.S.C. § 1692a(3).

  10.   The Plaintiff is a “any person” as that term is used in 15 U.S.C. § 1692d preface.

  11.   Defendant Commercial Recovery Systems, Inc. is a Texas corporation operating

        from an address at 8035 E RL Thornton Freeway, Suite 220, Dallas, Texas, 75228.

  12.   The Defendant’s registered agent in the state of Colorado is The Corporation

        Company, 1675 Broadway, Suite 1200, Denver, Colorado, 80202.

  13.   The Defendant is a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6).

  14.   The Defendant is licensed as a collection agency by the state of Colorado.

  15.   The principal purpose of the Defendant is the collection of debts using the mails

        and telephone.

  16.   The Defendant regularly attempts to collect debts alleged to be due another.

  17.   The Defendant regularly collects or attempts to collect, directly or indirectly, debts

        owed or due or asserted to be owed or due another that arose out of transactions in

        which the money, property or services which are the subject of the transactions are

        primarily for personal, family or household purposes.

                                FACTUAL ALLEGATIONS

  18.   Sometime before 2005 the Plaintiff allegedly incurred a financial obligation that

        was primarily for personal, family or household purposes namely an amount due

        and owing on personal auto loan account owed to First USA Bank N.A.

        (hereinafter the “Account”).

  19.   The Account constitutes a “debt” as that term is defined by 15 U.S.C. § 1692a(5).

  20.   The Account went into default with First USA Bank N.A..



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  21.   After the Account went into default the Account was placed or otherwise

        transferred to the Defendant for collection.

  22.   The Plaintiff disputes the Account.

  23.   The Plaintiff requests that the Defendant cease all further communication on the

        Account.

  24.   The Defendant’s collector(s) were employee(s) of the Defendant at all times

        mentioned herein.

  25.   The Defendant acted at all times mentioned herein through its employee(s).

  26.   In the year prior to the filing of the instant action the Defendant and / or

        representative(s), employee(s) and / or agent(s) of the Defendant made

        telephone call(s) to the Plaintiff and left voicemail message(s) for the Plaintiff.

  27.   In the year prior to the filing of the instant action the Plaintiff called the Defendant

        and / or representative(s), employee(s) and / or agent(s) of the Defendant in

        response to the telephone call(s) and voicemail message(s).

  28.   The Defendant’s purpose for these telephone call(s) and voicemail message(s)

        was to attempt to collect the Account.

  29.   The telephone call(s) and voicemail message(s) each individually conveyed

        information regarding the Account directly or indirectly to the Plaintiff.

  30.   The telephone call(s) and voicemail message(s) each individually constituted a

        “communication” as defined by FDCPA § 1692a(2).




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  31.   The only reason that the Defendant and / or representative(s), employee(s) and /

        or agent(s) of the Defendant made telephone call(s) to the Plaintiff was to

        attempt to collect the Account.

  32.   The only reason that the Defendant and / or representative(s), employee(s) and /

        or agent(s) of the Defendant had telephone conversation(s) with the Plaintiff was

        to attempt to collect the Account.

  33.   The only reason that the Defendant and / or representative(s), employee(s) and /

        or agent(s) of the Defendant received telephone call(s) from the Plaintiff was to

        attempt to collect the Account.

  34.   The only reason that the Defendant and / or representative(s), employee(s) and /

        or agent(s) of the Defendant left voicemail message(s) for the Plaintiff was to

        attempt to collect the Account.

  35.   During the communication(s) the Defendant and / or representative(s),

        employee(s) and / or agent(s) of the Defendant attempting to collect the Account

        represented to the Plaintiff that the Defendant was taking her to Federal Court on

        the Account including giving the Plaintiff a fake Court case number, that a

        Federal Court Judgment would be taken against her and that the Federal Court

        Judgment would be on her credit for 20 years.

  36.   The Defendant’s representations stated in paragraph 35 were false and were

        false representations in connection with the collection of a debt, the Account.

  37.   During the communication(s) the Defendant and / or representative(s),

        employee(s) and / or agent(s) of the Defendant attempting to collect the Account



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        represented to the Plaintiff that the Account is hurting the Plaintiff’s credit scores,

        that paying the Account is the only way to get the Account off of the credit bureau

        reports and that the Account will stay on the credit bureau reports until it is paid.

  38.   The Defendant’s representations stated in paragraph 37 were false and were

        false representations in connection with the collection of a debt, the Account.

  39.   During the communication(s) the Defendant and / or representative(s),

        employee(s) and / or agent(s) of the Defendant attempting to collect the Account

        represented to the Plaintiff that the Defendant would garnish 25% of her wages

        and that the Defendant would place liens on all of the Plaintiff’s property.

  40.   The Defendant’s representations stated in paragraph 39 were false and were

        false representations in connection with the collection of a debt, the Account.

  41.   In 2012 while attempting to collect the Account the Defendant left voicemail

        message(s) for the Plaintiff that did not provide meaningful disclosure of the

        caller’s identity as required by FDCPA 1692d(6) and/or did not provide the

        language required by FDCPA 1692e(11).

  42.   The Plaintiff called the Defendant on June 19, 2012 to discuss the Account and

        to dispute the Account.

  43.   The Plaintiff and the Defendant had a telephone conversation regarding the

        Account on June 19, 2012.

  44.   Upon information and belief the Defendant made an audio recording and/or audio

        recording(s) of the telephone conversation(s) it had with the Plaintiff on June 19,

        2012.



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  45.   Upon information and belief the Defendant has a copy or copies of the audio

        recording(s) of the telephone conversation(s) it had with the Plaintiff on June 19,

        2012.

  46.   Upon information and belief the Defendant kept written documentation and / or

        computer record(s) that document telephone call(s) to the Plaintiff on the Account

        in 2012 and voicemail messages left for the Plaintiff by the Defendant in 2012.

  47.   Upon information and belief the Defendant kept written documentation and / or

        computer record(s) that document telephone call(s) from the Plaintiff to the

        Defendant on the Account in 2012.

  48.   Upon information and belief the Defendant made audio recording(s) of some of

        its telephone call(s) / conversation(s) with the Plaintiff in 2012.

  49.   Upon information and belief the Defendant made audio recording(s) of all of its

        telephone call(s) / conversation(s) with the Plaintiff in 2012.

  50.   Upon information and belief the Defendant has a copy or copies of the audio

        recording(s) of some of its telephone call(s) / conversation(s) with the Plaintiff in

        2012.

  51.   Upon information and belief the Defendant has a copy or copies of the

        audio recording(s) of all of its telephone call(s) / conversation(s) with the Plaintiff

        in 2012.

  52.   Upon information and belief in the time between when it received this Complaint

        and Jury Demand and when a Answer to this Complaint and Jury Demand was

        filed on its behalf with the Court the Defendant made an inquiry and/or



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        investigation as to whether it had any audio recording(s) of any telephone

        conversation(s) between the Defendant and the Plaintiff including the telephone

        conversation(s) on June 19, 2012 and/or audio recording(s) of any of the

        voicemail message(s) the Defendant left for the Plaintiff in 2012.

  53.   Upon information and belief the Defendant sent copy(s) of any audio recording(s)

        that it had of telephone conversation(s) between the Defendant and the Plaintiff

        including the telephone conversation(s) on June 19, 2012 and/or audio

        recording(s) of any of the voicemail message(s) the Defendant left for the Plaintiff

        in 2012 to the attorney and/or the law firm who employs the attorney who is filing

        the Answer to this Complaint and Jury Demand on behalf of the Defendant.

  54.   Upon information and belief the Defendant’s copies of the audio recording(s) of

        its telephone call(s) / conversation(s) with the Plaintiff in 2012 substantiate the

        Plaintiff’s allegations in this action.

  55.   The Defendant and its representative(s), employee(s) and / or agent(s)

        statement(s) and action(s) constitute harassment or abuse and violate FDCPA

        1692d preface and d(6).

  56.   The Defendant and its representative(s), employee(s) and / or agent(s)

        statement(s) and action(s) constitute false or misleading representation(s) or

        mean(s) and violate FDCPA 1692e preface, e(2)(A), e(4), e(5), e(8), e(10) and

        e(11).




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  57.   The Defendant and its representative(s), employee(s) and / or agent(s)

        statement(s) and action(s) constitute unfair or unconscionable means to collect

        or attempt to collect a debt and violate FDCPA 1692f preface.

  58.   “For these reasons, I conclude that “meaningful disclosure” under 1692d(6)

        requires disclosing the debt collection company’s name.” Torres v. Procollect,

        Inc., --- F.Supp.2d ---, 2012 WL 1969280 (D.Colo. June 1, 2012).

  59.   “The Act is a strict liability statute; violations of the Act do not need to be

        intentional to be actionable.” Smith v. National Credit Systems, Inc., 807

        F.Supp.2d 836, 840 (D.Az. 2011).

  60.   “Because the FDCPA “is a “strict liability statute,” Plaintiff need only demonstrate

        “one violation of its provisions” to be entitled to a favorable judgment.” Doshay v.

        Global Credit and Collection Corporation, 796 F.Supp.2d 1301, 1304 (D.Colo.

        2011).

  61.   As a consequence of the Defendant’s collection activities and

        communication(s), the Plaintiff seeks damages pursuant to FDCPA

        1692k(a).

                                   RESPONDEAT SUPERIOR

  62.   The representative(s) and / or collector(s) at the Defendant were employee(s) of

        the Defendant at all times mentioned herein.

  63.   The representative(s) and / or collector(s) at the Defendant were agent(s) of the

        Defendant at all times mentioned herein.




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  64.    The representative(s) and / or collector(s) at the Defendant were acting within the

         course of their employment at all times mentioned herein.

  65.    The representative(s) and / or collector(s) at the Defendant were acting within the

         scope of their employment at all times mentioned herein.

  66.    The representative(s) and / or collector(s) at the Defendant were under the direct

         supervision of the Defendant at all times mentioned herein.

  67.    The representative(s) and / or collector(s) at the Defendant were under the direct

         control of the Defendant at all times mentioned herein.

  68.    The actions of the representative(s) and / or collector(s) at the Defendant are

         imputed to their employer, the Defendant.

  69.    As a direct and proximate result of the aforesaid actions, the Plaintiff seeks

         damages pursuant to FDCPA 1692k(a).

                                 COUNT I, FDCPA VIOLATION

  70.   The previous paragraphs are incorporated into this Count as if set forth in full.

  71.   The act(s) and omission(s) of the Defendant and its representative(s),

         employee(s) and / or agent(s) violated the FDCPA, § 1692d preface, d(6), §

         1692e preface, e(2)(A), e(4), e(5), e(10), e(11) and § 1692f preface.

  72.   Pursuant to FDCPA section 1692k the Plaintiff seeks damages, reasonable

        attorney's fees and costs.




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                                 JURY TRIAL DEMAND

   The Plaintiff is entitled to and hereby demands a trial by jury. U.S. Const. amend. 7.,

   Fed. R. Civ. Pro. 38.

                                  DEMAND FOR RELIEF

   WHEREFORE, the Plaintiff requests that the Court grant the following:

   1.   A finding that the Defendant violated the FDCPA and/or an admission from the

        Defendant that it violated the FDCPA.

   2.   Damages pursuant to 15 U.S.C. § 1692k(a).

   3.   Reasonable attorneys fees and costs pursuant to 15 U.S.C. § 1692k(a)(3).

   4.   Such other and further relief as the Court deems just and proper.

                                           Respectfully submitted,

                                           _s/ David M. Larson        __________
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